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 ~~~                                  UNITED STATES DISTRICT COURT
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                                     CENTRAL DISTRICT OF CALIFORNIA
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                MGP IX LINCOLN STATION, LLC, a              Case No. CV12-8239-WDK(FFMx)
             ig Delaware limited liability company,
                           Plaintiff,                       Assigned to: Hon. William D. Keller
             19
                   V.
             zo                                             STIPULATION FOR DISMISSAL
                   CITY OF CERRITOS, a California,
             21    municipal corporation; and DOES 1- 10,

            zz                Defendants.

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                   CITY OF CERRITOS
            24               Counter-~laimant,
                   V.
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            26     MGP IX LINCOLN STATION, LLC,a
                   Delaware limited liability company,
            2~                 Counter-Defendant.
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                                              STIPULATION FOR DISMISSAL
         USW 804455745.1
 Case 2:12-cv-08239-WDK-FFM Document 190 Filed 05/08/14 Page 2 of 2 Page ID #:12625




                          IT IS HEREBY STIPULATED by and between the parties to this action
                  through their respective attorneys of record, that the above-captioned action,
                  including all claims, counterclaims and causes of action therein, be and hereby is
              4   dismissed with prejudice.
              5            The parties have settled this action. Pursuant to the parties' request, and the
             6    Court having indicated its willingness to do so, this dismissal is subject to the Court
                  retaining limited jurisdiction to enforce the parties' Settlement Agreement.
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                  DATED: May 2, 2014
                                                           GHOWARD AVCHNJ& S~HAPIRO LLP
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Y
            is                                             NOAH PERCH-AHERN
   v                                                         Attorneys for Plaintiff
—~                                                           MGP IX LINCOLN STATION, LLC
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L   L             DATED: May 2, 2014                       MCKENNA LONG & ALDRIDGE LLP
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                                                           DAVID KR.AUS -LEEMON
            20                                             MICHELLE K. SUGIHARA
                                                              Attorneys for Defendant
            2~                                                CITY()F CERRITOS
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